Case 1:05-cv-01133-.]DT-STA Document 11 Filed 08/05/05 Page 1 of 2 APage|D 3
,\,, `

IN THE UNITED STATES DlSTRICT COURT
F()R THE WESTERN DlSTRICT OF TENNESSEE

 

 

EASTERN DIVISION -

REELFOOT BANK )
)

Plaintiff, ) No. 1-05-1133 - T An
)
V- )
)
UNITED STATES DEPAR'I`MENT OF )
AGRICULTURE )
)
Defendant. )

 

[ERQBQSM ORDER GRANTING MO'I`ION FOR ADMITTANCE OF
MICHAEL T. DAWKINS PRO HAC VICE

 

R. Spencer Clift, III has moved for the admission of Michael T. Dawkins pro hac
vice Upon examination of the Aft`idavit of Michael T. Dawkins filed in support of the
l\/[otion, the Court finds that Mr. Dawkins is an attorney licensed in good standing in the
State of ]\/lississippi and in the State of Alabama, and that he Will appear along With or

instead of l\/Ir. CliftJ Who is an attorney licensed to practice law in the State of Tennessee.

lT lS THEREFORE, ORDERED that l\/lichael T. Dawkins is hereby admitted pro

hac vice for this particular cause only.

IT lS FURTHER ORDERED that Michael T. Dawkins is hereby permitted to sign

pleadings and personally appear for court proceedings in this case.

(>W ». M/

JUDGE(7
DATE;/ § Q{//S//f/»{' ;'M~lw

 

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2621850_000006 08/0]/05 Thrs document entered on the docket sheet ln complrance

with Rule 58 and,’or_“/'Q (a) FRCP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-01133 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DlSTRICT COURT

